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District of Columbia live database - Docket Report https://ecf.ded.circde.den/cgi-bin/DktRpt.pl?351 174239501953-L_795_0-1
| 07/23/2003 a NOTICE of Appearance by Mitchell Rand Berger on behalf of
218 | NATIONAL COMMERCIAL BANK (Berger, Mitchell) (Entered:
07/23/2003)
07/23/2003 219 | CERTIFICATE of Counsel re 217 Consent MOTION for Extension of

Time to File Response/Reply to Plaintiffs’ Third Amended Complaint,
218 Notice of Appearance Certificate of Service by Mitchell Rand
Berger on behalf of NATIONAL COMMERCIAL BANK (Berger,
Mitchell) (Entered: 07/23/2003)

07/24/2003 220 | NOTICE of Appearance by Ronald S. Liebman on behalf of
NATIONAL COMMERCIAL BANK (Liebman, Ronald) (Entered:
— 07/24/2003)
07/24/2003 3221 | MOTION for Extension of Time to Respond to Plaintiffs' Third

Amended Complaint by SAUDI AMERICAN BANK. (Polovoy, Brian)
(Entered: 07/24/2003)

07/24/2003 9222 | NOTICE of Appearance by Ugo A. Colella on behalf of NATIONAL
COMMERCIAL BANK (Colella, Ugo) (Entered: 07/24/2003)

07/25/2003 223 | MEMORANDUM AND OPINION. Signed by Judge James Robertson
on July 25, 2003. (MT) (ENTERED IN ERROR- SEE DOC #224)
Modified on 7/25/2003 (Entered: 07/25/2003)

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MEMORANDUM AND OPINION. Signed by Judge James Robertson
on July 25, 2003. (MT) (Entered: 07/25/2003)

07/25/2003 22 ORDER granting in part and denying in part defendant Khudeira's
motion to dismiss 60, granting in part and denying in part defendant al
Haramain Islamic Foundation, Incorporated's motion to dismiss 62,
granting in part and denying in part defendant al Rajhi Banking and
Investment's motion to dismiss 64, denying defendant Muslim World
League's motion to dismiss and motion for more definite statement 83.
Signed by Judge James Robertson on July 25, 2003. (MT) (Entered:
07/25/2003)

07/25/2003 9226 | Second MOTION for Extension of Time to File a reply to plaintiff's
reply by TARIK ITAMDI. (Hanauia, Maher) (Entered: 07/25/2003)

Second MOTION for Extension of Time to File a reply to plaintiff's
reply by MOHAMMED HUSSEIN AL-ALMOUDL (Hanania, Maher)
(Entered: 07/25/2003)

07/25/2003 22

07/25/2003 9228 | MOTION for Extension of Time to File Response/Reply to the Court's
Notice to Counsel Regurding Letiers Rogatory Issued on September 24,
2002 by ALL PLAINTIFFS. (Huge, Harry) (Entered: 07/25/2003)

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07/25/2003 9229 | Consent MOTION for Extension of Time to Respond to the Motion to
| Dismiss of Defendants Success Foundation and Mohammed Omeish by
ALL PLAINTIFFS. (Huge, Harry) (Entered: 07/25/2003)

07/28/2003 @ MINUTE ENTRY: Court grants defendant National Commercial Bank's

consented motion for extension of time 217 to September 15, 2003.

Signed by Judge James Robertson on July 28, 2003. (MT) (Entered:
07/28/2003)

' MINUTE ENTRY: Court grants defendant Saudi American Banks’
motion for catension of tine to September 8, 2003. Signed by Judge
James Robertson on July 28, 2003. (MT) (Entered: 07/28/2003)

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07/28/2003 @ | MINUTE ENTRY: Court grants plaintiffs' motion for extension of time
229 to September 15, 2003. Signed by Judge James Robertson on July

28, 2003. (MT) (Entered: 07/28/2003)

07/31/2003 230 | MOTION for More Definite Statement by AL RAJHI BANKING AND
; INVESTMENT. (Curran, Christopher) (Entered: 07/ 31/2003)

07/31/2003 49231 | MOTION for Mote Definite Statement by SOLIMAN I KHUDETRA.
(Kabat, Alan) (Entered: 07/31/2003)

* 08/01/2003 , ***Motions terminated: 53 MOTION to Dismiss Plaintiffs’ Complaint
jor Failure to State a Claim upon which Kelief can be Granted filed by
ZAHIR H. KAZMI. Order number 213 closes this motion. (dam, )
(Entered: 08/01/2003)

08/01/2003 ***Motions terminated: 10 MOTION for Leave to File Motion to
Amend filed by ALL PLAINTIFFS, DEENA BURNETT, THOMAS
BURNETT, BEVERLY BURNETT, MARY MARGARET JURGENS
MARTHA BURNETT O'BRIEN, WILLIAM DOYLE, CAMILLE
DOYLE, WILLIAM DOYLE, DOREEN LUTTER, STEPHEN
ALDERMAN, ELIZABETH ALDERMAN, JANE ALDERMAN,
YVONNE V. ABDOOL, ALFRED ACQUAVIVA, JOSHPHINE
ACQUAVIVA, KARA HADFIELD, JESSICA MURROW-ADAMS,
STEPHEN JEZYCKI, JAMES ALARIO, CATHERINE JEZYCKI,
KARIUM ALI, JENNIFER D'AURIA, MICHAEL J. ALLEN,
JOCELYNE AMBROISE, PHILIPSON AZRENAROR, JOHN P.
BAESZLER, MARY BARBIERI, ARMANDO BARDALES, KEVIN
W. BARRY, GILA BARZVI, ARIE BARZVI, JOHN BENEDETTO,
RINA RABINOWITZ, MARIA GIORDANO, MICHAEL GIRDANO,
ONDINA BENNETT, FRANCES BERDAN, PRA KASH BHATT,
MILES BILCHER, IRENE BILCHER, BORIS BILILOVSKY, EMMA
TISNOVSKIY, LEONID TISNOVSKIY, ROSTYSLAV
TISNOVSKITY, BASMATTIE BISHUNDAT, BHOLA P.
BISHUNDAT, KRYSTYNA BORYCZEWSKI, MICHELE
BORYCZEWSKI, MICHAEL BORYCZEWSKI, JULIA

| BORYCZEWSKI, ROBERT ADAMS, JEAN ADAMS, MICHAEL

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| JEZYCKI, STEPHEN JEZYCKI, RICHARD D. ALLEN, MADELYN
ALLEN, MATTHEW ALLEN, LUKE C. ALLEN, LYNN ALLEN,
JUDITH M. AIKEN, LEONOR ALVAREZ, THOMAS ARIAS,
DONALD ARIAS, ANDREW ARIAS, LAUREN ARIAS LUCCHINI,
LORRAINE ARIAS BELIVEAU, CYNTHIA ARNOLD, BENJAMIN
ARROYO, ANNA M. GRANVILLE, KIM BARBARO, NICHOLAS
BARBARO, CAROL BARBARO, THOMAS J. MEEHAN, JOANN
MEEHAN, DARYL JOSEPH MEEHAN, EDMUND BARRY, KEVIN
BARRY, BRIAN BARRY, MAUREEN BARRY, SUZANNE J.
BERGER, ROBERT J. BERNSTEIN, MURRAY BERNSTEIN,
NORMA BERNSTEIN, DAVID M. BERNSTEIN, JOANNE I.
BETTERLY, LILLIAN BINI, ROSEMARIE CORVINO, JOHN
BONOMO, SONIA BONOMO, GEORGE BONOMO, SHARON
BOOKER, ROSE BOOKER, DESIREE A. GERASIMOVICH, SUSAN
BRADY, KATHLEEN M. BUCKLEY, JOHN C. BUCKLEY, JANE
M. SMITHWICK, JAVIER BURGOS. Order #15 deals with this motion
so the motion is closed. (dam, ) (Entered: 08/01/2003)

08/01/2003 a NOTICE by ALL PLAINTIFFS - Plaintiffs’ August 1, 2003 Addition
232 | und Removal of Parties Pursuant to Case Management Order No. ] And
Federal Rule of Civil Procedure 15(d) (Attachments: # 1 Attachment Aff
2 Attacluucut B)Huye, Harry) (Entered: 08/01/2003)

08/01/2003 3 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint
233 | Executed, KHALED NOURI served on 6/19/2003, answer due 7/9/2003
(rje, ) (Entered: 08/05/2003)

08/05/2003 a NOTICE TO COUNSEL: A conference call is set for August 7, 2003 at
234 4:00 p.m., EDT. Signed by Judge James Robertson on August 5, 2003.
(MT) (Entered: 08/05/2003)

08/06/2003 3 ANSWER to Amended Complaint by AL HARAMAIN ISLAMIC
235 | FOUNDATION, INC..(Kabat, Alan) (Entered: 08/06/2003)

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08/06/2003 ORDER granting as unopposed Motion to Intervene by Lynn Faulkner
101. Signed by Judge James Robertson on August 6, 2003. (MT)

(Entered: 08/06/2003)

| 08/06/2003 @ | MOTION Status Conference Proposed Intervenor by LYNN
FAULKNER. (Attachments: # 1)(Peterson, James) (Entered:
08/06/2003)

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| 08/08/2003 e | MOTION for Leave to bile Excess Pages re: Keply Brief in Support of
237 | Motion to Dismiss by SULTAN BIN ABDUL AZIZ AL SAUD.
(Jeffress, William) (Entered: 08/08/2003)

08/08/2003 a MINUTE ENTRY: Court denies motion for status conference as moot
236. Signed by Judge James Robertson on August 8, 2003. (MT)
| (Entered: 08/08/2003)

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08/08/2003 @ | MOTION for Leave to File Excess Pages /Motion to Exceed Page
228 | Limitation of Reply in Support of Motion to Dismiss and to Quash
Service of Process by TURKI AL FAISAL AL SAUD. (Guzman,
Michael) (Entered: 08/08/2003)

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08/08/2003 @ _ | REPLY in support of motion re 142 Motion to Dismiss and To Quash
239 Service of Process filed by TURK] AL FAISAL AL SAUD. (Guzman,
Michael) (Entered: 08/08/2003)

08/08/2003 a MINUTE ENTRY: Court grants defendant Sultan bin Abdul Aziz al
Saud's motion for leave to file excess pages 237. Signed by Judge James
Robertson on August 8, 2003. (MT) (Entered: 08/08/2003)

08/08/2003 o REPLY to opposition to motion re 110 to Dismiss filed by SULTAN
240 | BIN ABDUL AZIZ AL SAUD. (Attachments: # 1 Exhibit Nos. 1 & 2#2
Exhibit No. 3#3 Exhibit No. 44 4 Exhibit No. 5#5 Exhibit No.

6)(Jeffress, William) (Entered: 08/08/2003)

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08/08/2003 MINUTE ENTRY: Court grants defendant Turki al Faisal al Saud's
motion for leave to file excess pages 238. Signed by Judge James

Robertson on August 8, 2003. (MT) (Entered: 08/08/2003)

08/08/2003 9241 | Consent MOTION for Extension of Time to Respond to Solimon J.
Khudetra's Rule 12(e) Request to Plaintiffs by ALL PLAINTIFFS.
(Huge, Harry) (Entered: 08/08/2003)

08/08/2003 242 | Consent MOTION for Extension of Time to Respond to Al Rajhi Bank's
Rule 12(e) Request to Plaintiffs by ALL PLAINTIFFS, (Huge, Harry)
(Entered: 08/08/2003)

» 08/08/2003 9243 | Memorandum in opposition to motion re 169 - Plaintiffs' Memorandum
of Law in Opposition to Motion to Dismiss of Arab Bank PLC filed by
ALL PLAINTIFFS. (Huge, Harry) (Entered: 08/08/2003)

08/08/2003 @244 | NOTICE by ALL PLAINTIFFS - Notice of Service by Publication
(Attachments: # 1 Exhibit A# 2 Exhibit B)(Huge, Harry) (Entered:
08/08/2003)

08/08/2003 245 | NOTICE of Voluntary Dismissal by ALL PLAINTIFFS (Huge, Harry)
(Entered: 08/08/2003)

08/08/2003 9246 | MOTION to Strike 188 Memorandum in Opposition, As to All
References to Matters Outside the Pleadings by AFRICAN MUSLIM
AGENCY, GROVE CORPORATE, INC., HERITAGE EDUCATION
TRUST, INTERNATIONAL INSTITUTE OF ISLAMIC THOUGHT,
MAR-JAC INVESTMENTS, INC., RESTON INVESTMENTS, INC.,
SAFA TRUST, YORK FOUNDATION. (Sheinbach, Donna) (Entered:

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| | | 08/08/2003)

08/08/2003 247 | REPLY to opposition to motion re 121 to dismiss filed by AFRICAN
MUSLIM AGENCY. (Attachments: # 1 Exhibit A)(Sheinbach, Donna)
(Entered: 08/08/2003)

08/08/2003 9248 REPLY to opposition to motion re 117 to dismiss filed by GROVE
CORPORATE, INC.. (Sheinbach, Donna) (Entered: 08/08/2003)

08/08/2003 9249 | REPLY to opposition to motion re 119 fo dismiss filed by HERITAGE
EDUCATION TRUST. (Sheinbach, Donna) (Entered: 08/08/2003)

08/08/2003 325 REPLY to opposition to motion re 116 to dismiss filed by
INTERNATIONAL INSTITUTE OF ISLAMIC THOUGHT.
(Sheinbach, Donna) (Entered: 08/08/2003)

08/08/2003 Q REPLY to opposition to motion re 122 to dismiss filed by MAR-IAC
251 INVESTMENTS, INC.. (Sheinbach, Donna) (Entered: 08/08/2003)

08/08/2003 a REPLY to opposition to motion re 123 to dismiss filed by RESTON
252 INVESTMENTS, INC.. (Sheinbach, Donna) (Entered: 08/08/2UU3)

| 08/08/2003 a REPLY to opposition to motion re 124 fo dismiss filed by SAFA
| 253 TRUST. (Sheinbach, Nonna) (Entered: 08/08/2003)

08/08/2003 a REPLY to opposition to motion re 125 to dismiss filed by YORK
254 FOUNDATION. (Sheinbach, Donna) (Entered: 08/08/2003)

08/11/2003 Q | MINUTE ENTRY: Court grants plaintiffs' consented motion for

extension of time 241 to August 22, 2003 to respond to Solimon J.

Khudeira's Rule 12(e) request to plaintiffs. Signed by Judge James
Robertson on August 11, 2003. (MT) (Entered: 08/11/2003)

08/11/2003 a MINUTE ENTRY: Court grants plaintiffs’ consented motion for
extension of time 242 to August 22, 2003 to respond to al Rajhi Bank's
Rule 12(e) request to plaintiffs. Signed by Judge James Robertson on
August 11, 2003. (MT) (Entered: 08/11/2003)

08/11/2003 Q MOTION to Consolidate Cases, MOTION to Transfer Case pursuant to
; 28 USC 1407. (filed before the Judicial Panel on Multidistrict
Litigation); (COPY) (Attachments: # 1)(bes, } (Entered: 08/18/2003)

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08/19/2003 a Consent MOTION for Extension of Time to file responsive pleadings or

file answer on behalf of Michael Hadeed, Esq for the Muslim World
League by Maher Hanania, Esg by MUSLIM WORLD LEAGUE.

| (Hanania, Maher) (Entered: 08/19/2003)

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1 08/19/2003 o ' Consent MOTION for Extension of Time to Respond to the Motion to
eit | Strike All References to Matters Outside the Pleadings by ALL
PLAINTIFFS. (Huge, Harry) (Entered: 08/19/2003)

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08/19/2003 258 | Consent MOTION for Extension of Time to File Sur-Reply in Response
to Reply of HRH Sultan Bin Abdulaziz Al-Saud (D86) To Plaintiffs’

' Opposition To His Motion to Dismiss by ALL PLAINTIFFS. (Huge,
Harry) (Entered: 08/19/2003)

08/19/2003 259 | Consent MOTION for Extension of Time to File Sur-Reply in Response
to Reply of HRI Prince Turki Al-Fuisul Bin Abduluziz Al-Saud (D835) to
Plaintiffs' Opposition to His Motion to Dismiss by ALL PLAINTIFFS.

| (Huge, Harry) (Entered: 08/19/2003)

08/21/2003 260 | RESPONSE to Motion to Strike All References to Matters Outside the
Pleadings filed by ALL PLAINTIFFS. (Huge, Harry) (Entered:
08/21/2003)

08/22/2003 261 NOTICE by ALL PLAINTIFFS - Plaintiffs' Third Addition and

Removal of Defendants Pursuant to Case Management Order No. I and
Federal Rule of Civil Procedure 15(d) (Attachments: # 1 Attachment
A)(Huge, Harry) (Entered: 08/22/2003)

08/22/2003 9262 | Consent MOTION for Extension of Time to Respond to Al Rajhi
Banking & Investment Corporation's Motion For a More Definite
Statement by ALL PLAINTIFFS. (Huge, Harry) (Entered: 08/22/2003)

08/22/2003 *** Party KHALED NOURI JAMAL BARZINIJI and SOLIMAN J.
KHUDEIRA terminated. (bes, ) (Entered: 08/29/2003)

08/22/2003 ***Party IBRAHIM S. ABDULLAH, and MOHAMMAD BIN FARIS,
and MAHMOUD DAKHIL added. (bes, ) (Entered: 08/29/2003)

08/22/2003 *** Party MAHMOUD DAKHIL; IBRAHIM S. ABDULLAH and
MOHAMMAD BIN FARIS terminated. (bes, ) (Entered: 08/29/2003)

08/24/2003 #263 | RESPONSE to 259 Plaintiffs’ "Consent" Motion for an Extension of
Time to File Sur-Reply in Response to Prince Turki's Reply Brief in
Support of His Motion to Dismiss by TURKI AL FAISAL AL SAUD.
(Guzman, Michael) (Entered: 08/24/2003)

08/25/2003 @ | MINUTE ENTRY: Court grants defendant Muslim World League's
motion for extension of time 256 to September 30, 2003. Signed by
Judge James Robertson on August 25, 2003. (MT) (Entered:
08/25/2003)

08/25/2003 @ | MINUTE ENTRY: Court grants plaintiffs’ consented motion for
extension of time 257 to August 21, 2003. Signed by Judge James

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_ Robertson on August 25, 2003. (MT) (Entered: 08/25/2003)

| 08/25/2003 @ | MINUTE ENTRY: Court grants plaintiffs’ consented motion for
extension of time 258 tv September 2, 2003. Signed by Judge James
, Robertson on August 25, 2003. (MT) (Entered: 08/25/2003)

|

08/25/2003 @ | MINUTE ENTRY: Court grants plaintiffs’ consented motion for
extension of time 259 to September 2, 2003. Signed by Judge James
Robertson on August 25, 2003. (MT) (Entered: 08/25/2003)

| 08/26/2003 3 | NOTICE OF TRANSCRIPT FILED tor status hearing dates 8/7/03.
290 | (bes, ) (Entered: 09/02/2003)

08/27/2003 3 : Consent MOTION for Extension of Time to Respond to the Motion to
264 | Dismiss of Defendants Saleh Abdullah Kamel and Al Baraka Investment
& Development Corporation by ALL PLAINTIFFS. (Huge, Harry)
(Entered: 08/27/2003)

&

08/27/2003 MINUTE ENTRY: Court grants plaintiffs' consented motion for
extension of time 262 to September 10, 2003 . Signed by Judge James

Robertson on August 27, 2003. (MT) (Entered: 08/27/2003)

08/27/2003 a REPLY in support of motion re 246 to strike ail matters outside the
205 pleadings filed by AFRICAN MUSLIM AGENCY, GROVE
CORPORATE, INC., HERITAGE EDUCATION TRUST,
INTERNATIONAL INSTITUTE OF ISLAMIC THOUGHT,

_ MAR-JAC INVESTMENTS, INC., RESTON INVESTMENTS, INC.,
| SAFA TRUST, YORK FOUNDATION. (Sheinbach, Donna) (Entered:
| 08/27/2003)

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| 08/27/2003 9266 | RESPONSE to Al Rajhi Bank's Rule 12(e) Request to Plaintiffs filed by
ALL PLAINTIFFS. (Attachments: # 1 Exhibit 1)(Huge, Harry)
(Entered: 08/27/2003)

08/27/2003 @268 | NOTICE of Appearance by Brian Arthur Coleman, Michael I
McManus on behalf of DELTA OIL COMPANY, LTD (bcs, ) (Entered:
08/29/2003)

08/28/2003 267 | NOTICE of Substitute Attorney by AL HAKAMAIN ISLAMIC
FOUNDATION, INC.. (Hadeed, Michael) Modified on 8/29/2003 (bes,
). (Entered: 08/28/2003)

08/28/2003 @ | MINUTE ENTRY: Court grants plaintiffs' consented motion for
extension of time 264 to September 10, 2003 . Signed by Judge James
Robertson on August 28, 2003. (MT) (Entered: 08/28/2003)

08/28/2003 ***Motions terminated: 267 MOTION to Substitute Attorney filed by
| AL HARAMAIN ISLAMIC FOUNDATION, INC.. (bes, } (Entered:

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| | 08/29/2003)
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08/29/2003 3269 | LCVR 26.1 - CERTIFICATE OF DISCLOSURE of Corporate
Affiliations aud Financial Interests (McManus, Michael) (Entered:
| 08/29/2003)
08/29/2003 9270 MOTION to Dismiss. Motion to Strike or. In the Alternative, Motion

Jor More Definite Statement by DELTA OIL COMPANY, LTD.
(Attachments: # 1 Text of Proposed Order)(McManus, Michael)
, (Entered: 08/29/2003)

08/29/2003 271 | MOTION to Dismiss , Motion to Strike or, In the Alternative, Motion
for More Definite Statement: Memorandum in Support Thereof, by
DELTA OIL COMPANY, LTD. (Attachments: # 1 Exhibit A# 2 Exhibit
B)(McManus, Michael) (Entered: 08/29/2003)

- 08/29/2003 272 | ORDER denying certain defendants' motion to strike all matters outside
tlie pleadings 246 . Signed by Judge James Robertson on August 29,
2003. (MT) (Entered: 08/29/2003)

08/29/2003 296 | LCVR 26.1 - CERTIFICATE OF DISCLOSURE of Corporate
Affiliations and Financial Interests by ARAB BANK PLC; (COPY);
(FILED BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT
LITIGATION) (bes, ) (Entered: 09/04/2003)

08/29/2003 297 | NOTICE of appearance by Richard T. Marooney Jr. on behalf of Arab
Bank Plc.; (COPY); (FILED BEFORE THE JUDICIAL PANEL ON
MULTIDISTRICT LITIGATION} (bes, ) (Entered: 09/04/2003)

09/02/2003 9291 | Consent MOTION for Extension of Time to File Response/Reply to
Third Amended Complaint by MOHAMMED BIN ABDULLAH
AL-JOMAITH. (Lutz, Christopher) (Entered: 09/02/2003)

09/02/2003 9292 | MOTION for Leave to File Sur-Reply Memorandum to address matters
raised in the Reply Memorandum of Defendant Turki al Faisal al Saud

' (D85 or "Prince Turki") by ALL PLAINTIFFS. (Huge, Harry) (Entered:
09/02/2003)

09/02/2003 o@ > Memorandum in opposition to motion re 142 Turki al-Faisal bin
#22 Abdulaziz al-Saud's Reply to Plaintiffs' Opposition to his Motion to
Dismiss the Claims Against Him (Plaintiff's Sur-Reply) filed by ALL
PLAINTIFFS. (Huge, Harry) (Entered: 09/02/2003)

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09/02/2003 @ MOTION for Leave to File Sur-Reply to Prince Sultan's Reply
294 | Memorandum, and For an Extension of Pages by ALL PLAINTIFFS.
(Huge, Harry) (Entered: 09/02/2003)

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| 09/02/2003 a | REPLY to opposition to motion re 110 (Sur-Reply in Further

295 Opposition) to Motion of Sultan bin Abdulaziz al-Saud to Dismiss the
Claims Against Him filed by ALL PLAINTIFFS. (Attachments: # 1
Exhibit 1# 2 Exhibit 2# 3 Exhibit 34 4 Exhibit 44 5 Exhibit 54 6 Exhibit
Gi# 7 Exhibit 7# 8 Exhibit 8# 9 Exhibit 9# 10 Exhibit 10# 11 Exhibit
11)(Huge, Harry) (Entered: 09/02/2003)

09/04/2003 9298 | ORDER granting 291 Motion for Extension of Time to File Respond re
291 Consent MOTION for Exiension of Time to File Respond to the
Third Amended Complaint.Response due by 9/30/2003.Signed by Judge
Richard J. Leon on 09/04/2003 for Judge James Robertson. (dam, )
(Entered: 09/04/2003)

09/04/2003 9299 | NOTICE by NATIONAL COMMERCIAL BANK of appearance by
Ronald S. Liebman; (COPY); (FILED BEFORE THE JUDICIAL
PANEL ON MULTIDISTRICT LITIGATION) (Berger, Mitchell)

, (Entered: 09/04/2003)

09/04/2003 $300 | LCvR 26.1 - CERTIFICATE OF DISCLOSURE of Corporate
Affiliations and Financial Interests by THE NATIONAL COMMERCIAL
BANK; (COPY); (FILED BEFORE THE JUDICIAL PANEL ON
MULTIDISTRICT LILIGALION) (Berger, Mitchell) (Entered:

i 09/04/2003)

09/04/2003 O30) | NOTICE hy ALL PLAINTIFFS - Notice of Appearance by Ronald L.
Motley; Copy; (Filed Before the Judicial Panel on Multidistrict
i Litigation) (Huge, Harry) (Entered: 09/04/2003)

09/05/2003 9302 | NOTICE by AL HARAMAIN ISLAMIC FOUNDATION, INC. Notice
of Appearance by Lynne Bernabei and Corporate Disclosure Statement
(Filed Before the Judicial Panel on Multidistrict Litigation) (Kabat,
Alan) (Entered: 09/05/2003)

09/05/2003 9303 . NOTICE of Appearance by Maher H. Hanania on behalf of TARIK
HAMDI (Hanania, Maher) (Entered: 09/05/2003)

09/05/2003 304 | Consent MOTION for Extension of Time to File Answer re 29
Amended Complaint or other response by ABDUL RAHMAN BIN
KAHLID BIN MAFOUZ. (Kahn, Peter) (Fntered: 09/05/2003)

09/05/2003 305 | NOTICE by ALL PLAINTIFFS - Plaintiffs' Addition and Removal of
Parties Pursuant to Case Management Order No. 1 and Federal Rule of
Civil Procedure [5(d) (Attachments: # 1 Attachment A# 2 Attachment
B)(Huge, Harry) (Entered: 09/05/2003}

9/05/2003 @391 | NOTICE of Appearance by Ronald S. Liebman on behalf of
NATIONAL COMMERCIAL BANK; (FILED BEFORE THE

JUDICIAL PANEL ON MULTIDISTRICT LITIGATION) (bcs, )

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(Entered: 09/15/2003)

09/05/2003 9322 | LCVR 26.1 - CERTIFICATE OF DISCLOSURE of Corporate
| Affiliations and Financial Interests by NATIONAL COMMERCIAL
BANK; (FILED BEFORE THE JUDICIAL PANEL ON
MULTIDISTRICT LITIGATION) (bes, ) (Entered: 09/15/2003)

09/08/2003 9306 | Consent MOTION for Extension of Time to Respond to Defendant
Delta Oil Company's Motion to Dismiss and Motion to Strike or, in the
Alternative, Motion For More Definite Statement by ALL PLAINTIFFS.
(luge, Harry) (Entered: 09/08/2003)

09/08/2003 9307 | ENTERED IN ERROR.....NOTICE by ALL PLAINTIFFS - Subpoena
of Commonwealth Travel Advisors (Attachments: # 1 Schedule A# 2

| Schedule B)(Huge, Harry) Modified on 9/9/2003 (bes, }. (Entered:
09/08/2003)

09/08/2003 9308 | MOTION to Dismiss the Claims Against ft, Accompanying
| Memorandum of Law and Proposed Order by SAUDI AMERICAN
BANK. (Polovoy, Brian) (Entered: 09/09/2003)

09/09/2003 @ | "NOTICE OF CORRECTED DOCKET ENTRY. Document No. 307
was entered in error and counsel was instructed not to refile said
pleading." (bes, ) (Entered: 09/09/2003)

09/09/2003 309 | Consent MOTION for Extension of Time to File Response/Reply
Consent Motion to Further Extend Time for Defendant The National
Commercial Bank to Respond to Plaintiffs' Third Amended Complaint
by NATIONAL COMMERCIAL BANK. (Berger, Mitchell) (Entered:

09/09/2003)
f
09/10/2003 62310 | Consent MOTION for Leave to File a Response to Plaintiffs' Sur-Reply
by TURKI AL FAISAL AL SAUD. (Guzman, Michael) (Entered:
09/10/2003)
09/10/2003 311 | RESPONSE to Plaintiffs' Sur-Reply in Further Opposition to Prince

Turki's Motion to Dismiss filed by TURKI AL FAISAL AL SAUD.
(Guzman, Michael) (Entered: 09/10/2003)

09/10/2003 9312 | Memorandum in opposition to motion re 198 - Plaintiffs' Memorandum
of Law in Opposition to Motion to Dismiss of Defendants Al Baraka
Investment & Development Corporation and Saleh Abdullah Kamel
filed by ALL PLAINTIFFS. (Huge, Harry) (Entered: 09/10/2003)

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NOTICE by ALL PLAINTIFFS - Plaintiffs’ Addition and Removal of
Parties Pursuant to Case Management Order No. 1 and Federal Rule of
Civil Procedure 15(d) (Attachments: # 1 Attachment A# 2 Attachment

| B)(Huge, Harry) (Entered: 09/10/2003)

09/10/2003 Q

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09/10/2003

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NOTICE of Appearance of Kenneth P, Nolan by all plaintiffs;

341 | (BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT

LITIGATION) (bes, ) (Entered: 09/26/2003)

, 09/11/2003

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| MINUTE ENTRY: Court grants defendant Abdul Rahman bin Kahlid

bin Mafouz's consented motion for extension of time 304 to December
11, 2003. Signed by Judge James Robertson on September 11, 2003.
(MT) (Entered: 09/11/2003)

9/11/2003

| MINUTE ENTRY: Court grants defendant Delta Oil Company's

consented motion for extension of time 306 to October 17, 2003. Signed
by Judge James Robertson on September 11, 2003. (MT) (Entered:
09/11/2003)

09/1 1/2003

MINUTE ENTRY: Court grants defendant National Commercial Bank's
consented motion for extension of time 309 to October 15, 2003 .
Signed by Judge James Robertson on September 11, 2003. (MT)
(Entered: 09/11/2003)

09/12/2003

NOTICE of Appearance by Thomas Peter Steindler on behalf of
YOUSEF JAMEEL (Steindler, Thomas) (Entered: 09/12/2003)

09/12/2003

Consent MOTION for Extension of Time to Respond to Plaintiffs' Third
Amended Complaint by YOUSEF JAMEEL. (Steindler, Thomas)
(Entered: 09/12/2003)

09/12/2003

LCvR 26.1 - CERTIFICATE OF DISCLOSURE of Corporate
Affiliations and Financial Interests of Saudi Binladin Group, Inc.
(Brogan, Stephen) (Entered: 09/12/2003)

09/12/2003

| First MOTION to Dismiss or in the Alternative for More Definite

Statement, and Memorandum of Law in Support by Saudi Binladin
Group, Inc., Tariq Binladin and by BAKR M. BIN LADEN, OMAR
BIN LADEN. (Attachments: # 1 Exhibit 1: Articles of Incorporation of
SBG (USA)# 2 Exhibit 2: Articles of Dissofution of SBG (USA)# 3
Text of Proposed Order)(Brogan, Stephen) (Entered: 09/12/2003)

09/12/2003

9318

Consent MOTION for Extension of Time to File Renewed Motion to
Dismiss by AL RAJHI BANKING AND INVESTMENT. (Curran,
Christopher) (Entered: 09/12/2003)

09/12/2003

O39

| MOUJION to Dismiss by KHLID BIN SALIM BIN MAHFOUZ.

(Attachments: # 1 Text of Proposed Order # 2 Exhibit Tab A# 3 Exhibit
Tab B# 4 Exhibit Tab C)(Brogan, Stephen) (Entered: 09/12/2003)

09/12/2003

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REPLY to opposition to motion re 169 motion to dismiss filed by
ARAB BANK. (Shakow, John) (Entered: 09/12/2003)

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' NOTICE of Appearance by Thomas Peter Steindler on behalf of

YASSIN ABDULLAH AL KADI (bes, ) (Entered: 09/26/2003)

09/12/2003

9343

Consent MOTION for Extension of Time to File Response as to 29
Third Amended Complaint by YASSIN ABDULLAH AL KADL (bcs, )
(Entered: 09/26/2003)

09/15/2003

*** Motions terminated: 255 MOTION to Consolidate Cases MOTION
to Transfer Case. (bes, ) (Entered: 09/15/2003)

09/15/2003

' 09/15/2003

MINUTE ENTRY: Court grants plaintiffs' motion for leave te file
sur-reply 292. Signed by Judge James Robertson on September 15,
2003. (MT) (Entered: 09/15/2003)

MINUTE ENTRY: Court grants defendant Turki al Faisal al Saud's
motion for leave to file response to plaintiffs’ sur-reply 310. Signed by
Judge James Robertson on September 15, 2003. (MT) (Entered:
09/15/2003)

09/15/2003

MINUTE ENTRY: Court grants plaintiffs’ motion for leave to file
sur-reply and for an extension of pages 294 . Sigued by Judge James
Robertson on September 15, 2003. (MT) (Entered: 09/15/2003)

09/15/2003

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Memorandum in opposition to motion re 206 - Plaintiffs’ Memorandum
of Law in Opposition to Motion to Dismiss of Success Foundation and
Mohammed Omeish filed by ALL PLAINTIFFS. (Attachments: # 1
Exhibit A# 2 Exhibit B# 3 Exhibit C# 4 Exhibit D# 5 Exhibit E# 6

Exhibit F)(Huge, Harry) (Entered: 09/15/2003)

09/15/2003

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RESPONSE to the Court's Request for Suggestions on the Issue of the

Use of information Obtained by Plaintiffs Through Letters Rogatory
filed by ALL PLAINTIFFS. (Huge, Harry) (Entered: 09/15/2003)

09/17/2003

MINUTE ENTRY: Court grants defendant al Rajhi Banking and
Investment's consented motion for extension of time 318 to Octobe: G,
2003. Signed by Judge James Robertson on September 17, 2003. (MT)
(Entered: 09/17/2003)

| 09/17/2003

MINUTE ENTRY: Court grants defendant yousef Jameel's consented
motion for extension of time 315 to December 12, 2003 . Signed by
Judge James Robertson on September 17, 2003. (MT) (Entered:
09/17/2003)

09/17/2003

NOTICE TO COUNSEL: A motion hearing is set for October 17, 2003
at 2:00 p.m. before James Robertson. Signed by Judge James Robertson
on September 17, 2003. (MT) (Entered: 09/17/2003)

09/17/2003

| Consent MOTION for Extension of Time to File Response/Reply as to

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| | 312 Memorandum in Opposition to Defendants Al Baraka Investment
and Development Corporation and Saleh Abdullah Kamel’s Motion io
Dismiss by AL BARAKA INVESTMENT AND DEVELOPMENT

, CORPORATION, SALEH ABDULLAH KAMLL. (McMahon, Martin)
(Entered: 09/17/2003)

09/18/2003 9327 | REPORT of Rule 26(f) Planning Meeting. (Kabat, Alan) (Entered:

09/18/2003)
09/19/2003 328 | Consent MOTION for Extension of Time to Respond to the Motion of

Defendant Saudi American Bank to Dismiss the Claims Against it by
ALL PLAINTIFFS. (Huge, Harry) (Entered: 09/19/2003)

09/22/2003 ***Party WAEL JALAIDAN added. (bes, ) (Entered: 09/22/2003)

09/22/2003 329 | Consent MOTION for Extension of Time to File Responsive Pleading
by INTERNATIONAL ISLAMIC RELIEF ORGANIZATION, WAEL
JALAIDAN, MUSLIM WORLD LEAGUE, RABITA TRUS1T.
(McMahon, Martin) (Entered: 09/22/2003}

09/22/2003 3330 = LCVR 26.1 - CERTIFICATE OF DISCLOSURE of Corporate
Affiliations and Financial Interests by African Muslim Agency
(Sheinbach, Donna) (Entered: 09/22/2003)

09/22/2003 331 9 LCVR 26.1 - CERTIFICATE OF DISCLOSURE ot Corporate
Affiliations and Financial Interests by Grove Corporate, Inc.
(Sheinbach, Donna) (Entered: 09/22/2003)

09/22/2003 9332 |) LCvR 26.1 - CERTIFICATE OF DISCLOSURE of Corporate
Affiliations and Financial Interests by Heritage Education Trust
(Sheinbach, Donna) (Entered: 09/22/2003)

09/22/2003 3333  LCVR 26.1 - CERTIFICATE OF DISCLOSURE of Corporate
Affiliations and Financial Interests by International Institute of Islamic
Thought (Sheinbach, Donna) (Entered: 09/22/2003)

09/22/2003 (9334 | LCvR 26.1 - CERTIFICATE OF DISCLOSURE of Corporate
Affiliations and Financial Interests by Mar-Jac Investments, Inc.
(Sheinbach, Donna) (Entered: 09/22/2003)

09/22/2003 9335 | LCvR 26.1 - CERTIFICATE OF DISCLOSURE of Corporate
Affiliations and Financial Interests hy Reston Investments, Inc
(Sheinbach, Donna) (Entered: 09/22/2003)

09/22/2003 $33 LCvR 26.1 - CERTIFICATE OF DISCLOSURE of Corporate
Affiliations and Financial Interests by Safa Jrust (Sheinbach, Donna)
(Entered: 09/22/2003)

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| LCvR 26.1 - CERTIFICATE OF DISCLOSURE of Corporate
| Affiliations and Financial Interests hy York Foundation (Sheinbach,
Donna) (Entered: 09/22/2003)

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09/22/2003 8344 ~~ NOTICE of Appearance by Thomas Peter Steindler on behalf of
YASSIN ABDULLAH AL KADI; (FILED BEFORE THE JUDICIAL
PANEL ON MULTIDISTRICT LITIGATION) (bes, ) (Entered:
09/26/2003)

09/22/2003 9345 NOTICE of Appearance by Thomas Peter Steindler on behalf of
YOUSLF JAMEEL , (FILED BEFORE THE JUDICIAL PANEL ON
MULTIDISTRICT LITIGATION) (bes, ) (Entered: 09/26/2003)

09/23/2003 3 ; Consent MOTION for Extension of Time to Respond to Defendants
| Saudi Binladin Group, Bakr Binladin, Omar Binladin, and T. arig
' Binladin’s Motion to Dismiss or in the Alternative for More Definite

| Statement by ALL PLAINTIFFS. (Huge, Harry) (Entered: 09/23/2003)

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09/23/2003 a Consent MOTION for Extension of Time to Respond to Defendant
222 | Khalid Bin Mahfouz's Motion to Dismiss or in the Alternative for More
Definite Statement by ALL PLAINTIFFS. (Huge, Harry) (Entered:
09/23/2003)

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09/24/2003 ***Motions terminated: 16 MOTION for Leave to Appear Motion for
Admission pro hac vice by [larry lluge for Messis. Hurwath and Brian
conditioned on ECF filed by DEENA BURNETT, 11 First MOTION
deny motion to intervene challenging this Court's subject matter
Jurisdiction filed by ALL PLAINTIFFS, 13 MOTION for Leave to
Appear Pro Hac Vice Motions for Messrs. Rice and Cordray by Harry
Huge filed by THOMAS BURNETT. (dam, ) (Entered: 09/24/2003)

09/24/2003 9340 | MOTION for Issuance of Letters Rogatory to the appropriate judicial
authority of Spain by ALL PLAINTIFFS. (Attachments: # 1 Exhibit 14
2 LETTER OF REQUEST for International Judicial Assistance (Letter
Rogatory) Pursuant to the Hague Convention of 18 March 1970 on the
Taking of Evidence in Civil or Commercial Matters by the United States
District Court for the District of Columbia# 3 Exhibit 1# 4 Exhibit 2
(English}# 5 Exhibit 2 (Spanish))(Huge, Harry) (Entered: 09/24/2003)

09/24/2003 9346 | Consent MOTION for Extension of Time to File Answer or otherwise
respond to plaintiff's re 29 Third Amended Complaint by YESLMAN
M. BIN LADEN. (Attachments: # 1 Text of Proposed Order)(bes, )
(Entered: 09/26/2003)

09/29/2003 438347 | MOTION for Extension of Time to File Response/Reply fo Third
Amended Complaint by MOHAMMED BIN ABDULLAH
AL-JOMAITH. (Lutz, Christopher) (Entered: 09/29/2003)

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| 09/29/2003 o ORDER granting 326 Motion for Extension of Time to File

348 | Response/Reply re 326 Consent MOTION for Extension of Time to File

Response/Reply as to 312 Memorandum in Opposition to Defendants Al

Baraka Investment and Development Corporation and Saleh Abdullah

Kamel's Motion to Dismiss . Signed by Judge Henry H. Kennedy for
Judge James Robertson on 9/29/2003. (dam, ) (Entered: 09/30/2003)

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- 09/29/2003 a ORDER granting 328 consented motion for Extension of Time to
349 respond. Signed by Judge Henry H. Kennedy for Judge James Robertson
on 9/29/2003. (dam. ) (Entered: 09/30/2003)

09/29/2003 eo ORDER granting 329 consented motion for Extension of Time to
359 October 30, 2003 to file responses to the third amended complaint.
Signed by Judge Henry H. Kennedy for Judge James Robertson on
9/29/2003. (dam, ) (Entered: 09/30/2003)

| 09/29/2003 o ORDER granting 338 consented motion for Extension of Time to

351 November 5, 2003 to file responses and December 12, 2003 to file reply.
Signed by Judge Henry H. Kennedy for Judge James Robertson on
9/29/2003. (dam, ) (Entered: 09/30/2003)

09/29/2003 a ORDER granting 339 consented motion for Extension of Time to
352 November 5, 2003 to file responses and December 12, 2003 to file reply.

Signed by Judge Henry H. Kennedy for Judge James Robertson on
9/29/2003. (dam, ) (Entered: 09/30/2003)

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| 10/06/2003 MINUTE ENTRY: Court grants defendant Yassin Abdullah Al Kadi's

consented motion for extension of time 343 to December 12, 2003 .
Signed by Judge James Robertson on October 6, 2003. (MT) (Entered:
10/06/2003)

10/06/2003

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MINUTE ENTRY: Court grants defendant Yeslman M. Bin Laden's
consented motion for extension of time 346 to December 19, 2003.
Signed by Judge James Robertson on October 6, 2003. (MT) (Entered:
10/06/2003)

10/06/2003 3 MOTION to Dismiss the Claims Against It by AL RAJHI BANKING
353 | AND INVESTMENT. (Curran, Christopher) (Entered: 10/06/2003)

10/07/2003 a MOTION to Dismiss for Lack of Jurisdiction Jmproper Service and
334 Failure to State a Claim by MOHAMMED BIN ABDULLAH
AL-JOMAITIL (Attachments: # 1)(Lutz, Cluistopher) (Entered:
10/07/2003)

10/07/2003 Oo REPLY in support of motion re 198 Motion to Dismiss filed by AL
BARAKA INVESTMENT AND DEVELOPMENT CORPORATION,
SALEH ABDULLAH KAMEL. (McMahon, Martin) (Entered:
10/07/2003)

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| 10/10/2003 Q MINUTE ENTRY: Court grants defendant Mohammed bin Abdullah

Al-Jomaith's motion for extension of time 347 to October 7, 2003 .

Signed by Judge James Robertson on October 10, 2003. (MT) (Entered:
10/10/2003)

10/10/2003 a | MOTION to Intervene by VIGILANT INSURANCE COMPANY,

aj) PACIFIC INDEMNITY COMPANY, FEDERAL INSURANCE
COMPANY. (Attachments: # 1 Exhibit memorandum of law in support
of motion to intervene as parties-plaintiff# 2 Exhibit # 3 Exhibit #4
Exhibit complaint in intervention# 5 Exhibit disclosure statement)(bcs, )
(Entered: 10/14/2003)

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, 10/14/2003 a LCvR 26.1 - CERTIFICATE OF DISCLOSURE of Corporate
357 Affiliations and Financial Interests by The National Commercial Bank
(Berger, Mitchell) (Entered: 10/14/2003)

10/14/2003 Qo MOTION to Dismiss by NATIONAL COMMERCIAL BANK.
338 | (Attachments: #1 Text of Proposed Order)(Berger, Mitchell) (Entered:
10/14/2003)
10/14/2003 | a MOTION for Leave to File Excess Papes Consent Motion 10 Extend

359 Page Limit for Defendant The National Commercial Bank's Motion to
Dismiss by NATIONAL COMMERCIAL BANK. (Attachments: # 1
Text of Proposed Order #2 Memorandum of Law in Support of Motion
to Dismiss of Defendant The National Commercial Bank)(Berger,

| Mitchell) (Entered: 10/14/2003)

10/14/2003 Q | MOTION for Extension of Time to File Response as to 29 Amended
300 | Complaint by SALAHUDDIN ABDULJAWAD. (bes, ) (Entered:
10/14/2003)
10/15/2003 3 NOTICE by SULTAN BIN ABDUL AZIZ AL SAUD of Supplemental

361 Declaration of Ambassador Charles W. Freeman (Jeffress, William)
(Entered: 10/15/2003)

10/16/2003 a Consent MOTION for Extension of Time to Respond to Defendant
362 | Mohammad Abdullah Al Jomaih's Motion to Dismiss With Supporting
Points and Authorities by ALL PLAINTIFFS. (Huge, Harry) (Entered:

10/16/2003 9363 Consent MOTION for Extension of Time to Respond to Defendant
Delta OW Campany's Matian ta Dismiss and Motion to Strike Or, In The
Alternative, Motion for More Definite Statement by ALL PLAINTIFFS.
(Huge, Harry) (Entered: 10/16/2003)

10/16/2003 @ | MINUTE ENTRY: Court grants defendant National Commercial Bank's
motion for leave to file excess pages 359 . Signed by Judge James
Robertson on October 16, 2003. (MT) (Entered: 10/16/2003)

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10/16/2003 Q >> MINUTE ENTRY: Court grants defendant Salahuddin Abduljawad's
motion for extension of time 360 to December 11, 2003 . Signed by
Judge James Robertson on October 16, 2003. (MT) (Entered:

10/16/2003)

10/17/2003 @ | MINUTE ENTRY: Court grants plaintiffs' consented motion for
extension of time 362 to November 21, 2003 . Signed by Judge James
Robertson on October 17, 2003. (MT) (Entered: 10/17/2003)

1G 72.003 2 Minute Entryfor proceedings held before Judge James Robertson:
Motion Hearing held on 10/17/2003 re 110 MOTION to Dismiss filed
by SULTAN BIN ABDUL AZIZ AL SAUD, 83 MOTION to Dismiss
for Lack of Jurisdiction Personal Jurisdiction, Service of Process,
Insufficiency of Service, and Venue MOTION for More Definite
Statement for bill of particulars. (Court Reporter William McAllister.)
(dam, ) (Entered: 10/17/2003)

10/17/2003 3366 MOTION for Leave to Appear pro hac vice of Stephen A. Cozen, Elliott
R. Feldman, Sean P. Carter, John M. Popilock and Joseph Scott
Tarbutton by FEDERAL INSURANCE COMPANY, PACIFIC
INDEMNITY COMPANY, VIGILANT INSURANCE COMPANY,
(Attachments: # 1 Exhibit statement of Stephen A. Cozen# 2 statement
of Elliott R. Feldman# 3 statement of Sean P. Carter# 4 statement of
John M. Popilock# 5 statement of Joseph Scott Tarbutton# 6 certififcate
of service# 7 Text of Proposed Order)(bes, ) (Entered: 10/22/2003)

10/20/2003 @ |= MINUTE ENTRY: Court grants plaintiffs’ consented motion for
extension of time 363 to October 24, 2003, Signed by Judge James
Robertson on October 20, 2003. (MT) (Entered: 10/20/2003)

10/20/2003 a NOTICE of filing; re: letter to Attorney General. (Attachments: # 1
364 | Exhibit Letter)(jf, ) (Entered: 10/21/2003)

10/21/2003 a Consent MOTION for Extension of Time to Respond to Proposed
365 Plaintiff Intervenors' Motion to Intervene as Parties-Piaintiff by ALL
PLAINTIFFS. (Huge, Harry) (Entered: 10/21/2003)

! 10/22/2003 Q . SUMMONS REISSUED (2)as to MOHAMMED HUSSEIN
AL-ALMOUDI ; INTERNATIONAL ISLAMIC RELIEF
ORGANIZATION (bes, ) (Entered: 10/22/2003)

10/22/2003 a SUMMONS REISSUED (4) as to AL FAROOQ MOSQUE ; AHMED
ZAKI YAMANI; YOUSSEF M, NADA & CO. (bcs, ) (Entered:
10/22/2003)

10/22/2003 Summons Issued (9) as to MOHAMED MANSOUR, DAR AL MAAL

AL ISLAMI TRUST, MAMOUN DARKAZANLI, AL-BARAKA
BANCORP, INC., QUEENS CITY CIGARETTES AND CANDY,

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MOHAMMED ALBANNA, SAMI OMAR AL-HUSSAYEN,
ISLAMIC ASSEMBLY OF NORTH AMERICA. (bes, ) (Entered:
- 10/22/2003)

10/23/2003 @ ) MINUTE ENTRY: Court grants plaintiffs’ consented motion for
_ extension of time 365 to November 26, 2003. Signed by Judge James
Robertson on Octoher 2.3, 2003. (MT) (Entered: 10/23/2003)

10/27/2003 9367 . NOTICE by ALL PLAINTIFFS - Plaintiffs’ Fourth Addition and
Removal of Defendants Pursuant to Case Management Order No. 1 and
Federal Rule of Civil Procedure 15(d) (Attachments: # 1 Attachment
A)(Huge, Harry) (Entered: 10/27/2003)

10/27/2003 9368 | Consent MOTION for Extension of Time to Respond to Al Rajhi
Banking & Investment Corporation's Renewed Motion to Dismiss the
Claims Against it by ALL PLAINTIFFS. (Huge, Harry) (Entered:
10/27/2003)

10/23/2003 3369 | ORDER that working conference is set for November 12, 2003 at 10:00
' a.m. in conference room 6314. Signed by Judge James Robertson on
October 28, 2003. (MT) (Entered: 10/28/9003)

10/28/2003 9377 | NOTICE OF TRANSCRIPT FILED for motion hearing dates 10/17/03.
(bes, ) (Entered: 10/30/2003)

10/29/2003 937 Consent MOTION for Extension of Time to Respond to the Motion to
Dismiss of Defendant The National Commercial Bank by ALL
PLAINTIFFS. (Huge, Harry) (Entered: 10/29/2003)

10/29/2003 371 | Consent MOTION for Extension of Time to answer or file a responsive
/ pleading by INTERNATIONAL ISLAMIC RELIEF ORGANIZATION.
(McMahon, Martin) (Entered: 10/29/2003)

10/29/2003 372 | Consent MOTION for Extension of Time to answer or file a responsive
pleading by MUSLIM WORLD LEAGUE. (McMahon, Martin)
(Entered: 10/29/2003)

10/29/2003 9373 | NOTICE of Appearance by Alan Robert Kabat on behalf of SOLIMAN
, H.S. AL-BUTHE (Kabat, Alan) (Entered: 10/29/2003)

10/29/2003 9374 Consent MOTION for Extension of Time to Respond to Third Amended
| Complaint by SOLIMAN H.S. AL BUTHE. (Kabat, Alam) (Entered:
10/29/2003)

10/30/2003 8375 | MOTION to Dismiss for Failure to State a Claim, MOTION to Dismiss

for Lack of Jurisdiction by RABITA TRUST. (Attachments: # 1 Exhibit
1)(McMahon, Martin) (Entered: 10/30/2003)

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MOTION to Dismiss for Failure to State a Claim, MOTION to Dismiss
| for Lack of Jurisdiction by WAEL JALAIDAN. (Attachments: #1
_ Exhibit 14 2 Exhibit 2)(McMahon, Martin) (Entered: 10/30/2003)

10/30/2003 9376

10/30/2003 378 ; NOTICE by ALL PLAINTIFFS - Notice of Supplemental Authority in
| Connection With Motions to Dismiss of Sultan Bin Abdulaziz Al-Saud
and Turki Al-Faisal Bin Abdulaziz Al-Saud (Huge, Harry) (Entered:
10/30/2003)

10/30/2003 9379 | NOTICE by ALL PLAINTIFFS - Notice of Rebuttal Affidavit of William
LP. Wechsler tu the Affiduvii of Ambassador Charles W. Freeman
(Attachments: # 1 Affidavit)(Huge, Harry) (Entered: 10/30/2003)

10/31/2003 9 | MINUTE ENTRY: Court grants plaintiffs’ consented motion for
extension of time 370 to December 5, 2003. Signed by Judge James
Robertson on October 31, 2003. (MT) (Entered: 10/31/2003)

10/31/2003 @ | MINUTE ENTRY: Court grants defendant International Islamic Relief
Organization's motion for extension of time 371 to answer until after a
ruling by MDL Panel re consolidation, Signed by Judge James
Robertson on October 31, 2003. (MT) (Entered: 10/31/2003)

10/31/2003 oe MINUTE ENTRY: Court grants defendant Muslim World League's
consented motion for extension of time 372 to answer until after a ruling
by MDL Panel re consolidation. Signed by Judge James Robertsun on
October 31, 2003. (MT) (Entered: 10/31/2003)

+ 10/31/2003 @ MINUTE ENTRY: Court grants defendant Soliman H. S. Al-Buthe's
consented motion for extension of time 374 to November 17, 2003.
Signed by Judge James Robertson on October 31, 2003. (MT) (Entered:
10/3 1/2003)

10/3 1/2003 1 2 Consent MOTION for Extension of Time to File Response/Reply as to
323 Memorandum in Opposition, by MOHAMED S. OMEISH,
SUCCESS FOUNDATION, INC.. (Hadeed, Michael) (Entered:

» 10/31/2003)

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10/31/2003 a RESPONSE to 378 Response of Prince Turki Al-Faisal to Plaintiffs'
381 | Notice of Supplemental Authority in Connection with Motions to
Dismiss by TURKI AL FAISAL AL SAUD. (Guzman, Michael)

(Entered: 10/31/2003)

10/31/2003 $391 | RESPONSE of interested party Federal Plaintiffs to the Saudi Binladin
Group's motion for transfer adn consolidation pursuant to 28 U. S.C.
1407(a); (FILED BEFORE THE JUDICIAL PANEL ON

MUL TINISTRICT TITIGATION). (bes, ) (Entered: 11/13/2003)

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11/04/2003 B38

' Consent MOTION for Extension of Time to Respond to Defendant

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District of Columbia live database - Docket Report https://ecf.ded.cirede.den/egi-bin/DktRpt.pl?351174239501953-L_795 0-1

Khalid Bin Mahfouz's Motion to Dismiss or in the Alternative for More
Definite Statement by ALL PLAINTIFFS. (Huge, Harry) (Entered:
11/04/2003)

11/04/2003 38

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Consent MOTION for Extension of Time to Respond to Defendants
Saudi Binladin Group, Bakr Binladin, Omar Binladin, and Tariq
Rinladin's Mation ta Dismiss or in the Alternative for More Dofiaite

Statement by ALL PLAINTIFFS. (Huge, Harry) (Entered: 11/04/2003)

11/05/2003 @ |) MINUTE ENTRY: Court grants defendants Mohamed S. Omeish's and
Success Foundation, Inc.'s consented motion for extension of time 380
to December 19, 2003 . Signed by Judge James Robertson on November
5, 2003. (MT) (Entered: 11/05/2003)

11/05/2003 o MINUTE ENTRY: Court grants plaintiffs' consented motion for
extension of time 383 to November 7, 2003. Signed by Judge James
Robertson on November 5, 2003. (MT) (Entered: 11/05/2003)

11/05/2003 @ MINUTE ENTRY: Court grants plaintiffs' consented motion for
extension of time 368 to November 14, 2003. Signed by Judge James
Rohertson an November 4, 2003. (MT) (Entered: 11/05/2003)

11/05/2003 @ MINUTE ENTRY: Court grants plaintiffs’ consented motion for
extension of ime 382 to November 7, 2003. Signed by Judge James
Robertson on November 5, 2003. (MT) (Entered: 11/05/2003)

11/06/2003 *** Attorney Jayne H. Conroy for plaintiffs added. (Burgess, Joe)
(Entered: 11/06/2003)

11/06/2003 9384 | RESPONSE to Plaintiffs' Notice of Supplemental Authority filed by
SULTAN BIN ABDUL AZIZ AL SAUD. (Attachments: # 1 Exhibit
Memorandum Opinion)(Jeffress, William) (Entered: 11/06/2003)

11/07/2003 9385 | ENTERED IN ERROR.....RESPONSE to Any Document - Plaintiffs’
Reply to Response of Sultan Bin Abdulaziz Al-Saud Concerning
Supplemental Authority filed by ALL PLAINTIFFS, (Huge, Harry)

| Modified on 11/10/2003 (bes, ). (Entered: 11/07/2003)

11/07/2003 386 | Consent MOTION for Extension of Time to Respond to Defendant
Rabita Trust's Motion to Dismiss the Third Amended Complaint by ALL
PLAINTIFFS. (Huge, Harry) (Entered: 11/07/2003)

11/07/2003 9387 , Consent MOTION for Extension of Time to Respond to Defendant Wael
Jelaidan’s Motion io Dismiss the Third Amended Complaint by ALL
PLAINTIFFS. (Huge, Harry) (Entered: 11/07/2003)

11/07/2003 388 | Memorandum in opposition to motion re 319 - Plaintiffs' Memorandum
of Law in Opposition to Motion of Defendant Khalid Bin Mahfouz to

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i Dismiss the Complaint or, in the Alternative, for a More Definite
i Statement filed by ALL PLAINTIFFS. (Attachments: # 1 Exhibit 1# 2
Exhibit 2# 3 Exhibit 3# 4 Exhibit 4# 5 Exhibit 5# 6 Exhibit 64 7 Exhibit
7# 8 Exhibit 8# 9 Exhibit 9)(Huge, Harry) (Entered: 11/07/2003)

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+ 11/07/2003 Memorandum in opposition to motion re 317 - Plaintiffs' Memorandum
of Law in Opposition to Motion of Defendants Saudi Binladin Group,
Bakr Binladin, Omar Binladin, and Tariq Binladin to Dismiss the

| Complaint or, in the Alternative, for a More Definite Statement filed by
| ALL PLAINTIFFS. (Attachments: # 1 Exhibit 14 2 Exhibit 2)(Huge,

Harry) (Entered: 11/07/2003)

11/10/2003 @ | "NOTICE OF CORRECTED DOCKET ENTRY. Document No. 385
was entered in error and counsel was instructed to refile said pleading as
: areply." (bes, ) (Entered: 11/10/2003)

11/10/2003 (9390 | REPLY to 384 - Plaintiffs’ Reply to Response of Sultan Bin Abdulaziz
Al Saud Concerning Supplemental Authority by ALL. PLAINTIFFS.
(Huge, Harry) (Entered: 11/10/2003)

11/10/2003 9 = MINUTE ENTRY: Court grants plaintiffs’ consented motion for
extension of time 386 to December 19, 2003 . Signed by Judge James
Robertson on November 10, 2003. (MT) (Entered: 11/10/2003)

MINUTE ENTRY: Court grants plaintiffs' consented miution for
extension of time 387 to December 19, 2003. Signed by Judge James
' Robertson on November 10, 2003. (MT) (Entered: 11/10/2003)

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11/14/2003 392 | MEMORANDUM OPINION. Signed by Judge James Robertson on
November 14, 2003. (MT) (Entered: 11/14/2003)

11/14/2003 9393 | ORDER granting defendant Prince Sultan bin Abdulaziz Al-Saud's
motion to dismiss 110 and granting defendant Prince Turki Al-Faisal bin
Abdulaziz Al-Saud's motion to dismiss 142 . Signed by Judge James
Robertson on November 14, 2003. (MT) Madified on 11/14/2003 (MT).
(Entered: 11/14/2003)

/ 11/14/2003 9394 | Memorandum in opposition to motion re 353 - Plaintiffs’ Memorandum
i of Law in Opposition to Al Rajhi Banking & Investment Corporation's
Renewed Motion to Dismiss filed by ALL PLAINTIFFS, (Attachments:
# 1 Exhibit 1# 2 Exhibit 2)(Huge, Harry) (Entered: 11/14/2003)

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11/14/2003 #395 | Memorandum in opposition to motion re 308 - Plaintiffs' Memorandum
of Law in Opposition to Motion to Dismiss of Saudi American Bank
filed by ALL PLAINTIFFS. (Attachments: # 1 Exhibit 1# 2 Exhibit 2# 3
Exhibit 3# 4 Exhibit 4)(Huge, Harry) (Entered: 11/14/2003)

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| 11/17/2003 396 | MOTION to Dismiss for Improper Service of Process and Motion to

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District of Columbia tive database - Docket Report hitps://ecf-ded.circde.den/egi-bin/DktRpt.pl?351174239501953-L_795_0-1

| | Quash Summons by SOLIMAN H.S. AL-BUTHE. (Attachments: # 1
Exhibit 1 (Declaration))(Kabat, Alan) (Entered: 11/17/2003)

11/18/2003 PS

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| NOTICE TO COUNSEL. a mutious hearing is set for December 15,
2003 at 10:00 a.m. in Courtroom 16 before Judge James Robertson.
signed by Judge James Robertson on November 18, 2003. (MT)
(Entered: 11/18/2003)

11/20/2003

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MOTION for Extension of Time to (nunc pro tunc)Respond to the
Motion of Defendant Saudi American Bank to Dismiss the Claims
Against it vy ALL PLAINTIFFS. (Huge, Harry) (Entered: 11/20/2003)

11/20/2003 | MINUTE ENTRY: Court grants plaintiffs’ motion for extension of time
398 nunc pro tunc to November 14, 2003 for response and to December
19, 2003 to file reply . Signed by Judge James Robertson on November
20, 2003. (MT) (Entered: 11/20/2003)

11/20/2003 3399 NOTICE by SOLIMAN H.S. AL-BUTHE re 396 MOTION to Dismiss
Jor Improper Service of Process and Motion to Quash Summons
(Attachments: # 1 Exhibit 1)(Kabat, Alan) (Entered: 11/20/2003)

11/21/2003 3400 | MOTION for Leave to Appear Pro Hac Vice by MAR-JAC POULTRY,
INC.. (Attachments: # 1)(Luque, Nancy) (Entered: 11/21/2003)

11/21/2003 401 | MOTION to Dismiss by MAR-JAC POULTRY, INC.. (Attachments: #
1 Exhibit A# 2 Exhibit B# 3 Exhibit C)(Luque, Nancy) (Entered:
11/21/2003}

| 11/24/2003 9402 Consent MOTION for Extension of Time to Respond to Defendant
Mohammad Abdullah Al Jomaih's Motion to Dismiss With Supporting
| Points and Authorities by ALL PLAINTIFFS. (Huge, Harry) (Entered:
11/24/2003)

11/24/2003

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ENTERED IN ERROR.....MOTION for Extension of Time to File
Answer re 29 Amended Complaint or Other Responsive Pleadings hy
ABDUL RAHMAN BIN KAHLID BIN MAFOUZ. (Viles, Thomas)
Modified on 11/25/2003 (bes, ). (Entered: 11/24/2003)

11/24/2003 404) ORDER granting upon condition defendant MAR-JAC Poultry Inc.'s
motion for pro hac vice appearance of Wilmer Parker Ill . Signed by
i Judge James Robertson on November 24, 2003. (MT) (Entered:
11/24/2003)
i

11/24/2003 405 | ENTERED IN ERROR....... MOTION for Extension of Time to File
Answer re 29 Amended Complaint er Other Responsive Pleadings by
ABDUL RAHMAN BIN KAHLID BIN MATOUZ., (Viles, Thomas)
_ Modified on 11/25/2003 (bes, }. (Entered: 11/24/2003)

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11/24/2003 406
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MOTION for Extension of Time to File Answer re 29 Amended
Complaint or Other Responsive Pleadings by ABDUL RAHMAN BIN
KAHLID BIN MAFOUZ. (Viles, Thomas) (Entered: 11/24/2003)

11/24/2003 oe | MINUTE ENTRY: Court grants plaintiffs' unopposed motion for
| extension of time 402 to December 2, 2003 . Signed by Judge James
Robertson on November 24, 2003. (MT) (Entered: 11/74/2013)

11/25/2003 NOTICE OF CORRECTED DOCKET ENTRIES. Documents No. 403
and 405 are duplicates of number 406. Counsel was instructed not to
refile said pleading due to the error message they received at the time of
filing." (bes, ) (Entered: 11/25/2003)

11/25/2003 407 ; NOTICE of Appearance by James F. Peterson on behalf of LYNN
FAULKNER (Peterson, James) (Entered: 11/25/2003)

11/25/2003 408 | NOTICE of Appearance by Paul J. Orfanedes on behalf of LYNN
FAULKNER (Orfanedes, Paul) (Entered: 11/25/2003)

11/25/2003 @ MINUTE ENTRY: Court grants defendant Abdul Rahman Bin Kahlid
| Bin Mafouz's motion for extension of time 406 to December 22, 2003 .

Signed by Judge James Robertson on November 25, 2003. (MT)
(Entered: 11/25/2003)

11/25/2003 #409 | Consent MOTION for Extension of Time to Respond to Proposed
Plaintiff Intervenors' Motion to Intervene as Parties-Plaintiff by ALL
PLAINTIFFS. (Huge, Harry) (Entered: 11/25/2003)

11/26/2003 10 | Consent MOTION for Extension of Time to Respond to Defendants
Soliman HS. Al-Buthi and Perouz Sedaghaty's Motion to Quash

Summons and Motion to Dismiss for Improper Service of Process by
ALL PLAINTIFFS. (Huge, Harry) (Entered: 11/26/2003)

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11/26/2003 MINUTE ENTRY: Court grants plaintiffs consented motion for
extension of time 409 ta December 1, 2003. Signed by Judge James

Robertson on November 26, 2003. (MT) (Entered: 11/26/2003)

11/26/2003 @411 ; REPLY in support of motion re 353 to Dismiss filed by AL RAJHI
BANKING AND INVESTMENT. (Curran, Christopher) (Entered:
: 11/26/2003)

12/01/2003 W412? | Consent MOTION for Extension of Time to Respond to Third Amended
Complaint by SALAHUDDIN ABDULJAWAD. (Millian, John)
(Entered: 12/01/2003)

12/01/2003 @ | MINUTE ENTRY: Court grants plaintiffs’ motion for extension of time
410 to January 9, 2004 . Signed by Judge James Robertson on December
1, 2003. (MT) (Entered: 12/01/2003)

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12/01/2003

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MINUTE ENTRY: Court grants defendant Salahuddin Abduljawad's
| motion for extension of time 412 to January 26, 2004. Signed by Judge
James Robertson on December 1, 2003. (MT) (Entered: 12/01/2003)

12/01/2003 O413 NOTICE by AL RAJH] BANKING AND INVESTMENT of Joint
| Request for Oral Argument (Curran, Christopher) (Entered: 12/01/2003)

12/01/2003 414 | Memorandum in opposition to motion re 356 - Plaintiffs" Memorandum
of Law in Opposition to Motion to Intervene as Parties-Plaintiff filed by
ALL PLAINTIFFS. (Attachments; # 1 Exhibit Af 2 Exhibit B# 3

| Exhibit C)(Huge, Harry) (Entered: 12/01/2003)

12/02/2003 @415 ; MOTION for Extension of Time to Respond to Defendant Mar-Jac
Poultry, Inc.'s Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)
(2)(4), (5) & (6) by ALL PLAINTIFFS. (Huge, Harry) (Entered:
12/02/2003)

12/02/2003 8416 | Memorandum in opposition to motion re 354 - Plaintiffs’ Memorandum
of Law in Opposition to Mohammad Abdullah Al Jomaih's Motion to
Dismiss the Claims Against Him filed by ALL PLAINTIFFS.
(Attachments: # | Exhibit A# 2 Extibit B# 3 Exhibit C)(Huge, Harry)
(Entered: 12/02/2003)

12/04/2003 9417 | Consent MOTION for Extension of Time to Respond to the Motion to
Dismiss of Defendant The National Commercial Bank by ALL
PLAINTIFFS. (Huge, Harry) (Entered: 12/04/2003)

12/03/2003 O41

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Consent MO'LION for Extension of Time to File Response/Reply as to
414 Memorandum in Opposition, by FEDERAL INSURANCE
COMPANY, PACIFIC INDEMNITY COMPANY, VIGILANT
INSURANCE COMPANY. (Ash, Matthew) Modified on 12/5/2003
(tje, ). (Entered: 12/05/2003)

12/08/2003 @ > MINUTE ENTRY: Court grants plaintiffs’ motion for extension of time
415 to January 12, 2004 . Signed by Judge James Robertson on
December 8, 2003. (MT) (Entered: 12/08/2003)

12/09/2003 @ | MINUTE ENTRY: Court grants plaintiffs' motion for extension of time
417 to December 15, 2003 . Signed by Judge James Robertson on
December 9, 2003. (MT) (Entered: 12/09/2003)

12/09/2003 @ | MINUTE ENTRY: Court grants detendants Federal Insurance
Company, Pacific Indemnity Company and Vigilant Insurance
Company's motion for extension of time 418 to December 22, 2003 .
Signed by Judge James Robertson on December 9, 2003. (MT) (Entered:
12/09/2003)

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District of Columbia live database - Docket Report https://ecf.ded.cirede.den/cgi-bin/DktRpt.pl?351174239501953-L_795_ 0-1

| 12/10/2003 | | NOTICE TO PARTIES AND COUNSEL that the oral argument set for
i 419 | December 15, 2003 is cancelled . Signed by Judge James Robertson on
December 10, 2003. (MT) (Entered: 12/10/2003)

12/10/2003 o Consent MOTION for Extension of Time to File Response/Reply as to
420 | 395 Memorandum in Opposition, by SAUDI AMERICAN BANK.
(Polovoy, Brian) (Entered: 12/10/2003)

12/10/2003 a Consent MOTION for Extension of Time to Respond to Defendant
421 Mar-Jac Poultry, Inc.'s Motion to Dismiss Pursuant to Fed. R. Civ. P.
12(b) (2)(4), (5) & (6) by ALL PLAINTIFFS. (Huge, Harry) (Entered:
12/10/2003)

12/11/2003 a MOTION for Extension of Time to Respond to Plaintiffs' Third
422 | Amended Complaint by YOUSEF JAMEEL. (Steindler, Thomas)
(Entered: 12/11/2003)

12/11/2003 9423 = Consent MOTION for Extension of Time to File Response/Reply to
Opposition to Motion to Dismiss by MOHAMMED BIN ABDULLAH
AL-JOMAITH. (Lutz, Christopher) (Entered: 12/11/2003)

12/11/2003 9424 | MOTION for Extension of Time to Respond to Plaintiffs’ Third
Amended Complaint by Y ASSIN ABDULLAH AL KADL (Steindler,
| Thomas) (Entered: 12/11/2003)

12/11/2003 | MINUTE ENTRY: Court grants defendant Saudi American Bank's
motion for extension of time 420 to February 1, 2004 . Signed by Judge
James Robertson on December 11, 2003. (MT) (Entered: 12/11/2003)

12/11/2003 @ | MINUTE ENTRY: Court grants plaintiffs' motion for extension of time
421 to January 30, 2004 . Signed by Judge James Robertson on
December 11, 2003. (MT) (Entered: 12/11/2003)

12/12/2003 Q | MINUTE ENTRY: Court grants defendant Yousef Jameel's motion for
extension of time 422 to January 12, 2004. Signed by Judge James
Robertson on December 12, 2003. (MT) (Entered: 12/12/2003)

12/12/2003 a0 MINUTE ENTRY: Court grants defendant Yassin Abdullah Al Kadi's
mouion for extension of lime 424 to January 12, 2004 . Signed by Judge
James Robertson on December 12, 2003. (MT) (Entered: 12/12/2003)

12/12/2003 @ | MINUTE ENTRY: Court grants defendant Mohammed Bin Abdullah
Al-Jomaith's consented motion for extension of time 423 to January 12,
2004. Signed by Judge James Robertson on December 12, 2003. (MT)
(Entered: 12/12/2003)

12/12/2003 ***Motions terminated: 403 MOTION for Extension of Time to File
Answer re 29 Amended Complaint or Other Responsive Pleadings filed

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| by ABDUL RAHMAN BIN KAHLID BIN MAF OUZ, 405 MOTION
| for Extension of Time to File Answer re 29 Amended Complaint or
Other Responsive Pleadings filed by ABDUL RAHMAN BIN KAHLID
BIN MAFOUZ. Motions were marked "Entered in Error" but not
terminated. (MT) (Entered: 12/12/2003)

12/12/2003 O4

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REPLY in support of motion re 317 Motion to Dismiss or in the
Alternative for More Definite Statment filed by Saudi Binladin Group,
inc., Tariq Binladin and filed by BAKR M. BIN LADEN, OMAR BIN
LADEN. (Brogan, Stephen) (Entered: 12/12/2003)

12/12/2003 426 REPLY in support of motion re 319 Motion to Dismiss or in the
Alternative for More Definite Statement filed by KHLID BIN SALIM
BIN MAHFOUZ. (Brogan, Stephen) (Entered: 12/12/2003)

12/15/2003 427 | MOTION for Extension of Time to File Answer re 29 Amended
Complaint or Other Responsive Pleading by ABDUL RAHMAN BIN
KAHLID BIN MAFOUZ. (Viles, Thomas) (Entered: 12/15/2003)

12/15/2003 428 | Consent MOTION for Extension of Time to Respond to the Motion to
Dismiss of Defendant The National Commercial Bank by ALL
PLAINTIFFS. (Huge, Harry) (Entered: 12/15/2003)

12/17/2003 a MINUTE ENTRY: Court grants defendant Abdul Rahman Bin Kahlid
Bin Mafouz's consented motion for extension of time 427 to January 31,
2004. Signed by Judge James Robertson on December 17, 2003. (MT)
(Entered: 12/17/2003)

12/17/2003 @ MINUTE ENTRY: Court grants plaintiffs’ consented motion for
extension of time 428 to December 22, 2003. Signed by Judge James
Robertson on December 17, 2003. (MT) (Entered: 12/17/2003)

12/17/2003 @ , MOTION for Extension of Time to File Answer or otherwise respond to
429 te 29 Amended Complaint by YESLMAN M. BIN LADEN. (bes, )
(Entered: 12/18/2003)

12/18/2003 Q Consent MOTION for Extension of Time to Respond to Defendant
430 | Rabita Trust's Motion to Dismiss the Third Amended Complaint by ALL
PLAINTIFFS. (Huge, Harry) (Entered: 12/18/2003)

12/18/2003 9431 | Consent MOTION for Extension of Time to Respond to Defendant Wael
Jelaidan's Mation to Dismiss the Third Amended Coumpluint vy ALL
PLAINTIFFS. (Huge, Harry) (Entered: 12/18/2003)

12/19/2003 432 | NOTICE by ALL PLAINTIFFS - Plaintiffs’ December 19, 2003
Addition and Removal of Parties Pursuant to Case Management Order
No. 1. and Federal Rule of Civil Procedure 15(d) (Attachments: # 1

; Attachment A# 2 Attachment B# 3 Attachment C)(Huge, Harry)

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| | (Entered: 12/19/2003)

| 12/22/2003 @ > MINUTE ENTRY: Court grants defendant Yeslman M. Bin Laden's
motion for extension of tine 429 lo January 26, 2004 . Signed by Judge

| James Robertson on December 22, 2003. (MT) (Entered: 12/22/2003)

12/22/2003 3 | MINUTE ENTRY: Court grants plaintiffs! mation for extension of time
430 to January 19, 2004 . Signed by Judge James Robertson on
December 22, 2003. (MT) Modified on 12/22/2003 (MT). (Entered:
12/22/2003)

12/22/2003 3 = MINUTE ENTRY: Court grants plaintiffs’ motion for extension of time
431 to January 19, 2004 . Signed by Judge James Robertson on
December 22, 2003. (MT) (Entered: 12/22/2003)

12/22/2003 2433 » REPLY in support of motion re 356 Motion to Intervene as Parties
Plaintiffs filed by FEDERAL INSURANCE COMPANY, PACIFIC
INDEMNITY COMPANY, VIGILANT INSURANCE COMPANY.
(Attachments: # 1 Exhibit A)(Ash, Matthew) (Entered: 12/22/2003)

12/22/2003 434 | Consent MOTION for Leave to File Excess Pages for Plaintiffs’
Response to National Commercial Bank's (D2) Motion to Dismiss by
ALL PLAINTIFFS. (Huge, Harry) (Entered: 12/22/2003)

12/22/2003 a Memorandum in opposition to motion re 358 to Dismiss Defendant the
435 National Commercial Bank, filed by ALL PLAINTIFFS. (Attachments:
# 1 Exhibit Exhibit 1# 2 Exhibit 2# 3 Exhibit 34 4 Exhibit 4# 5 Exhibit
' S# 6 Exhibit 64 7 Exhibit 7# 8 Exhibit 8)\(Huge, Harry) (Entered:
12/22/2003)

12/23/2003 a Consent MOTION for Extension of Time to File Response/Reply as to
435 Memorandum in Opposition, IV SUPPORT OF MOTION TO
| DISMISS THE THIRD AMENDED COMPLAINT, Consent MOTION
for Leave to File Excess Pages FOR ITS REPLY IN SUPPORT OF
MOTION TO DISMISS THE THIRD AMENDED COMPLAINT by
NATIONAL COMMERCIAL BANK. (Berger, Mitchell) (Entered:
12/23/2003)

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12/30/2003 o Consent MOTION for Extension of Time to File Response/Reply as to
437 | 29 Amended Complaint by Defendant Sami Omar Al-Hussayen, until

January 30, 2004, consented to by counsel for Defendant and by ALL
PLAINTIFFS. (Huge, Harry) (Entered: 12/30/2003)

12/30/2003 o NOTICE by ALL PLAINTIFFS of December 30, 2003 Addition of
438 | Parties Pursuant to Case Management Order No. 1. and Federal Rule
of Civil Procedure 15(d) (Attachments: # 1 Attachment A, Additional
Defendants)(Huge, Harry) (Entered: 12/30/2003)

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MOTION for Leave to File Sur-Reply to Proposed Plaintiff Intervenors
439 | by ALL PLAINTIFFS. (Huge, Harry) (Entered: 12/30/2003)

i 12/30/2003 | @

12/30/2003 o Memoraudur in opposition lo motion re 356 (Plaintiffs’ Sur-Reply
Memorandum of Law in Further Opposition to Reply of Proposed

_ Plaintiff Intervenors) filed by ALL PLAINTIFFS. (Huge, Harry)

_ (Entered: 12/30/2003)

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01/02/2004 a Letter dated 12/9/03 from the Judicial Panel on Multidistrict Litigation
directing the transfer of the original file and certified copy of the docket
sheet. (bus, ) (Entered: 01/02/2004)

01/02/2004 | Letter dated 12/11/03 ftom USDC for the Southern District of New
York directing the transfer of the original file and certified copy of the
docket sheet. (bes, ) (Entered: 01/02/2004)

01/02/2004 @ > Case transferrred out. Original file and certified copy of docket entries
and order transmitted to USDC for the Southern District of New York.
i (bes, ) (Entered: 01/02/2004)

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